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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                             LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                      CASE NO. 6:23-CR-00142

 VERSUS                                        JUDGE ROBERT R. SUMMERHAYS

 JOSEPH LAWRENCE HARRISON                      MAGISTRATE JUDGE DAVID J. AYO
 CODY LAJOHN WILLIAMS
 DRAPPER LAVAR ANTHONY JR


                               SCHEDULING ORDER

       A status conference was held before Magistrate Judge Ayo on December 18,

 2023. Present for the Government was LaDonte Murphy. Present for defendant

 Joseph Lawrence Harrison (01) was Dustin Talbot. Present for defendant Cody

 LaJohn Williams (02) was Gerald Block.        Present for defendant Drapper Lavar

 Anthony, Jr. (03) was Todd Clemons.

       This Court notes the prior certification of this matter as complex and the ends

 of justice findings already entered in the record of the case. Accordingly;

       TRIAL is SET before Judge Summerhays on May 13, 2024 at 9:15 a.m. Trial

 is anticipated to last 5 days, not including jury selection. A pretrial conference will

 be HELD by telephone with Magistrate Judge Ayo on April 26, 2024 at 10:00 a.m.

 Attendance by trial counsel is required. The pretrial deadlines are as follows:

    1. December 26, 2023              Defendant’s Request for Discovery.
       7 days after issuance          Government’s response is due 7 days from
       of scheduling order            discovery request. See Fed. R. Cr. P. 16(a)(1).

     2. January 2, 2024               Government’s Request for Discovery.
        15 days after                 Defendant’s reciprocal is due 7 days from discovery
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         issuance of                           request. See Fed. R. Cr. P. 16(b)(1).
         scheduling order
      3. March 14, 2024                        Expert Witness Disclosure by party with the
         60 days before trial                  burden of proof.

                                               Notice Deadline (see e.g. Fed. R. Crim. P. 12.2,
                                               12.3; Fed. R. Evid. 404(b), 413, 414).

      4. April 3, 2024                         Expert Witness Disclosure by party without the
         40 days before trial                  burden of proof.

      5. April 15, 2024                        Motions Deadline (e.g. suppression motions,
         30 days before trial                  Daubert motions, motions in limine, etc.).
                                               Oppositions are due 5 days after service of motion.
                                               Reply briefs accepted only with leave of court
                                               requested 3 days after service of opposition.

      6. April 22, 2024                        Applications for Writ of Habeas Corpus ad
         21 days before trial                  testificandum (i.e. to produce witnesses who are
                                               currently incarcerated). Such applications must
                                               describe specifically why the testimony is necessary.

                                               List of Foreseeable Issues, Proposed Voir Dire,
                                               Proposed Jury Instructions. 1

      7. April 24, 2024                        Deadline to submit plea packet. 2
         2 days before Pretrial
         Conference

      8. April 29, 2024                        Applications for subpoena(s) pursuant to Fed. R.
         14 days before trial                  Crim. P. 17(b) (i.e., Defendant unable to pay)

      9. May 8, 2024                           Witness Lists (with witnesses designated as “fact”
         5 days before trial                   or “expert,” and the expected length of testimony).

                                               Exhibit Lists and Bench Books are to be
                                               provided to the Court and opposing parties. 3


 1
   For instructions regarding these documents, see Appendix, § I.
 2
   See Appendix, § IV.
 3
   Absent permission otherwise, counsel must provide 2 sets of bench books to chambers, 1 set to the
 Courtroom Deputy, and 1 set to each opposing party; counsel must also provide the Courtroom Deputy with
 a flash drive containing all trial exhibits. Prior to jury selection, counsel must deliver 1 complete set of
 bench books to the courtroom for the use of testifying witnesses at trial.
                                                      2
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                                    Witnesses or evidence called/offered solely for
                                    impeachment need not be included.

                                    Real Time Glossary. Each party shall provide to
                                    the court reporter a glossary of all terms likely to be
                                    stated on the record during trial that are technical,
                                    scientific, medical, or otherwise uncommon.


       Signed this 18th day of December, 2023 at Lafayette, Louisiana.




                                      __________________________________________
                                      DAVID J. AYO
                                      UNITED STATES MAGISTRATE JUDGE




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                                               Appendix

 I.      Pretrial Conference

         A. List of Foreseeable Issues

        For discussion at the pretrial conference, counsel will file a list of ALL
 foreseeable issues that will arise on admissibility of evidence, burden of proof, and
 any other issues that can or must be dealt with in advance of trial. The purpose to be
 served is to eliminate, to the extent possible, delays during the course of the trial, and
 to permit advance preparation and research of issues expected to be raised at trial.
 The issue list will include counsel's opinion whether a pretrial hearing will be
 necessary to resolve any of these foreseeable issues. Examples of such issues which
 may require a hearing include, but are not limited to:

         1.      Extrinsic evidence questions under U.S. v. Beechum, 582 F.2d 898 (5th
                 Cir. 1978);
         2.      Voluntariness of statements under 18 U.S.C. § 3501;
         3.      Admissibility questions; and/or
         4.      Any other issue resolvable by a pretrial hearing.

         The following topics will also be discussed at the pretrial conference:

         1.      Estimated time required by each side to put on its case;
         2.      Marking of documents for identification;
         3.      Waivers of foundation of documents where possible;
         4.      Exchange of curriculum vitae of expert witnesses and/or stipulation of
                 expert qualifications;
         5.      Pending discovery problems;
         6.      Consideration of making Jencks Act material available to the defendant
                 prior to the testimony of all witnesses;
         7.      Jury instructions/voir dire problems; and
         8.      Any other relevant matter necessary for the smooth progress of the trial.

         B.      Proposed Voir Dire

      Counsel may submit proposed voir questions pertinent to a party or the case.
 Counsel are not to duplicate questions contained in the Court’s boilerplate voir dire. 4

         C.      Jury Instructions


 4
   The Court’s boilerplate voir dire can be accessed at https://www.lawd.uscourts.gov/content/judge-robert-
 r-summerhays under the “Forms” tab.


                                                     4
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        Fifth Circuit Pattern Jury Instructions requested by the parties should be
 referenced only by their numbers. Each non-pattern instruction must be accompanied
 by a brief stating the statutory and/or jurisprudential authority for the instruction.
 Fifth Circuit authority is preferable. A simple case citation will not be sufficient.

 II.      Continuances

        Any request for a continuance of the trial setting or a pretrial deadline MUST
 include the specific reasons why the scheduled trial date or pretrial deadlines do not
 afford sufficient time, the exact amount of additional time requested and, if the party
 is requesting a trial continuance, the motion MUST include the relevant provision(s)
 of 18 U.S.C. § 3161 authorizing the continuance.

 III.     Other Requirements

        A courtesy copy of all material required by this Scheduling Order should be
 submitted directly to chambers in order to facilitate prompt attention to all matters.
 Courtesy           copies          should            be          e-mailed           to
 Summerhays_courtesycopies@lawd.uscourts.gov. All electronic submissions should
 be in either Microsoft Word format.

 IV.      Guilty Plea and Sentencing Procedures

          A. Guilty Pleas
       Prior to the taking of a guilty plea, counsel are to submit a plea packet to the
 Court, which includes each of the following documents:

       1. The plea agreement;
       2. An affidavit of understanding of maximum penalty and constitutional rights;
       3. The elements of the offense;
       4. A stipulated factual basis for the guilty plea 5; and
       5. A consent decree of forfeiture in appropriate cases.

 Absent good cause, guilty pleas will not be set until after receipt of the foregoing
 documents, signed by defendant and all counsel.



          B. Sentencing



 5
  Upon a showing of good cause, the Court will accept oral testimony in lieu of a written, stipulated factual
 basis for the guilty plea.
                                                      5
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        Presentencing memoranda must be filed by counsel under seal at least seven
 (7) days prior to the scheduled sentencing date, with a confidential copy submitted
 directly to the Probation Office. See LCrR 32.2. Any response thereto must be filed
 under seal, with a confidential copy submitted directly to the Probation Office, at
 least three (3) days prior to the scheduled sentencing date. The submission of a
 presentencing memorandum does not relieve the parties from the obligation of
 providing the probation officer with written objections to the presentence report
 within fourteen (14) days from the day of disclosure. See Fed. R. Crim. P. 32(f); LCrR
 32.1.




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